Case 3:10-cr-00228-RGJ-KLH           Document 468        Filed 09/20/13      Page 1 of 4 PageID #:
                                            1353



                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                             CRIM. ACTION NO. 10-0228-0001

 VERSUS                                               JUDGE ROBERT G. JAMES

 EMMETT L. MINOR                                      MAG. JUDGE KAREN L. HAYES

                                             RULING

        Before the Court is a Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

 2255 filed by pro se Petitioner Emmett L. Minor [Doc. No. 467]. For reasons stated below, the

 motion is DENIED.

 I.     BACKGROUND

        The Superceding Indictment against Petitioner was filed in the Western District of

 Louisiana on August 25, 2010 [Doc. No. 23], charging him with one count of conspiracy to

 distribute and to possess with the intent to distribute 50 grams or more of cocaine.

        On May 17, 2011, Petitioner pleaded guilty before Magistrate Judge Karen L. Hayes to

 the sole count of the Superceding Indictment against him. Under the factual stipulation

 accompanying the plea agreement, Petitioner acknowledged his participation in the conspiracy by

 distribution of cocaine powder alone (the powder was later converted to crack by other

 defendants). Without objection, the Court adopted Magistrate Judge Hayes’ recommendation

 and adjudged him guilty on June 6, 2011.

        Petitioner later attempted to withdraw his guilty plea and seek other counsel. The Court

 held a hearing on November 7, 2011, but denied Petitioner’s pro se motions. [Doc. No. 361].

        On February 28, 2012, a sentencing hearing was held. The Court adopted the Pre-
Case 3:10-cr-00228-RGJ-KLH            Document 468         Filed 09/20/13      Page 2 of 4 PageID #:
                                             1354



 Sentence Report, under which Petitioner’s sentence was calculated using powder cocaine ranges.

 The Court sentenced Petitioner to 120 months imprisonment and five years supervised release.

 [Doc. No. 416].

        On March 5, 2012, Petitioner appealed to the United States Court of Appeals for the Fifth

 Circuit. [Doc. No. 420]. On appeal, Petitioner challenged this Court’s alleged failure to rule on

 his motion to withdraw his guilty plea, and he sought re-sentencing under the Fair Sentencing

 Act (“FSA”), Pub. L. No. 111-220, 124 Stat. 2372 (2010), pursuant to Dorsey v. United States,

 132 S. Ct. 2321 (2012). On May 14, 2013, the Fifth Circuit rejected Petitioner’s arguments and

 affirmed his conviction and sentence. [Doc. No. 466]. With regard to his claims under the FSA,

 the Fifth Circuit found that Petitioner had stipulated to his participation in a conspiracy to

 distribute powder cocaine and that, accordingly, he had been sentenced under the Guideilnes

 applying to powder cocaine. Since the FSA affected only the statutory and Guidelines sentences

 for crack cocaine, it had no application to Petitioner’s case.

        On September 6, 2013, Petitioner’s § 2255 motion [Doc. No. 476] timely followed.

 Petitioner asserts the following four grounds for relief: (1) “At sentencing the United States

 allowed the District Court to violate the plea by sentencing the petitioner based on at least 5

 kilograms but less than 15 kilograms of cocaine powder”; (2) “The District Court did not have

 the jurisdiction or the authority to impose a mandatory minimum sentence of 120 months based

 on the pleas made” because the mandatory minimum for 50 grams or more of crack cocaine

 under FSA was five years; (3) “The sentence that was imposed is in violation of the [FSA]

 because the mandatory minimum was five years”; and (4) counsel was ineffective for failing to

 make objections based on Grounds 1-3. [Doc. No. 476, pp. 5–6].


                                                   2
Case 3:10-cr-00228-RGJ-KLH            Document 468        Filed 09/20/13      Page 3 of 4 PageID #:
                                             1355



 II.    LAW AND ANALYSIS

        Section 2255 is a “post-conviction remedy to test the legality of [a federal prisoner's]

 detention.” United States v. Grammas, 376 F.3d 433, 436 (5th Cir.2004) (quoting Kuhn v. United

 States, 432 F.2d 82, 83 (5th Cir.1970)). To obtain collateral relief pursuant to 28 U.S.C. § 2255,

 a defendant “must clear a significantly higher hurdle” than the standard that would exist on direct

 appeal. United States v. Frady, 456 U.S. 152, 166 (1982). Non-constitutional claims that could

 have been raised on direct appeal, but were not, may not be asserted in a § 2255 motion. See

 United States v. Vaughn, 955 F.2d 367, 368 (5th Cir.1992); see also United States v. Lopez, 248

 F.3d 427, 433 (5th Cir. 2001) (defendant is barred from raising claims in his § 2255 motion that

 he failed to raise on direct appeal unless he shows cause for the omission and prejudice resulting

 therefrom). Further, claims that were “raised and rejected” on direct appeal are “barred from

 collateral review.” United States v. Rocha, 109 F.3d 225, 229 (5th Cir. 1997). A petitioner

 cannot avoid this rule of law by attempting to re-couch his claims for a favorable result on

 collateral review.

        In this case, the first three grounds asserted by Petitioner were either raised on direct

 appeal or could have been raised on direct appeal. For those sentencing issues not raised on

 direct appeal, Petitioner has failed to show cause or prejudice. Moreover, given the Fifth

 Circuit’s opinion, the claims lack merit. While Petitioner’ s ineffective assistance of counsel

 claims were not asserted (and typically cannot be asserted) on direct appeal, the Fifth Circuit

 found no error in the Court’s application of the Guideline and statutory provisions for powder

 cocaine. Therefore, Petitioner could not establish that his counsel was ineffective for failing to

 raise meritless arguments. In short, Petitioner has no basis for relief.


                                                   3
Case 3:10-cr-00228-RGJ-KLH         Document 468       Filed 09/20/13     Page 4 of 4 PageID #:
                                          1356



 III.   CONCLUSION

        For the reasons stated above, Petitioner’s motion [Doc. No. 467] under 28 U.S.C. § 2255

 is DENIED.

        MONROE, LOUISIANA, this 20th day of September, 2013.




                                               4
